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 March 6, 2023


 Via ECF
 Magistrate Lee G. Dunst, USMJ
 United States District Court, EDNY
 100 Federal Plaza
 Central Islip, NY 11717


 Re:                 Barahona et al. v. Paradise Tree Service & Landscape Corp. et al.
                     Case No.: 2:21-cv-05400 (GRB)(LGD)
                     Joint Letter - Settlement Conference rescheduled from March 7, 2023 to
                     April 10, 2023 at 2:00 p.m.


 Dear Magistrate Dunst:

 Regarding the above matter and pursuant to your Order dated February 16, 2023, please allow
 this joint letter from Plaintiffs’ and Defendants’ counsel to confirm that all parties and their
 counsel remain prepared to attend, and participate, in person, in a productive settlement
 conference on April 10, 2023 at 2:00 p.m.

 In addition, on consent of all parties, we respectfully request that all deadlines for discovery,
 pleadings and motions, be extended for forty-five (45) days after April 10, 2023 to the new date of
 May 25, 2023. Thank you.

 Respectfully submitted,



 Glenn J. Ingoglia, Esq.
 Counsel for Defendants

 c.c.:   Via ECF
         Steven Moser, Esq.
         Counsel for Plaintiffs

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